




Dismissed and Memorandum Opinion filed July 24, 2008








Dismissed
and Memorandum Opinion filed July 24, 2008.

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

____________

&nbsp;

NO. 14-08-00112-CV

____________

&nbsp;

LYNN L. GOETZ,
Appellant

&nbsp;

V.

&nbsp;

THE HANCOCK FIRM, L.L.C.,
Appellee

&nbsp;



&nbsp;

On Appeal from the 55th District
Court

Harris County, Texas

Trial Court Cause No.
2007-58388

&nbsp;



&nbsp;

M E M O R
A N D U M&nbsp; &nbsp;O P I N I O N

This
appeal is from a judgment signed December 14, 2007.&nbsp; No clerk=s record has been filed.&nbsp; The clerk
responsible for preparing the record in this appeal informed the court
appellant did not make arrangements to pay for the record.&nbsp; 








On March
6, 2008, notification was transmitted to all parties of the Court's intent to
dismiss the appeal for want of prosecution unless, within fifteen days,
appellant paid or made arrangements to pay for the record and provided this
court with proof of payment.&nbsp; See Tex.
R. App. P. 37.3(b).

Appellant
has not provided this court with proof of payment for the record. Accordingly,
the appeal is ordered dismissed.

&nbsp;

PER
CURIAM

&nbsp;

Judgment rendered and Memorandum Opinion filed July
24, 2008.

Panel consists of Chief Justice Hedges, and Justices
Yates and Anderson. 

&nbsp;





